Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 1 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 2 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 3 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 4 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 5 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 6 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 7 of 9
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 8 of 9




  Abdul Hassan

 August 8
Case 1:17-cv-09359-SN Document 40-1 Filed 08/17/18 Page 9 of 9
